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 6 Attorneys for the United States of America

 7                              IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA and STATE                 CASE NO. 2:16-cv-2600 KJM EFB
     OF CALIFORNIA, ex rel. TRACEY FREMD,
11
                                  Plaintiffs,           STIPULATION OF DISMISSAL
12
                           v.
13
     ADVANCED PAIN DIAGNOSTIC AND
14   SOLUTIONS II, LLC; KAYVAN
     HADDADAN; and JESSE VAUGHN,
15
                                  Defendants.
16

17

18          Pursuant to Fed. R. Civ. P. 41(a)(1)(A), the False Claims Act, 31 U.S.C. § 3730(b)(1), and the

19 California False Claims Act, Cal. Gov’t Code § 12652(c)(1), the United States, the State of California,

20 and relator Tracey Fremd, (“Relator”), through their undersigned counsel, hereby stipulate to the

21 dismissal of all claims asserted in the complaint currently filed in the above-captioned action in

22 accordance with the terms of a settlement agreement effective February 27, 2019 (“Agreement”). This

23 dismissal is with prejudice as to Relator. As to the United States and the State of California, this

24 dismissal is with prejudice with respect to the Covered Conduct as defined in the Agreement only, and

25 otherwise without prejudice. Relator stipulates that the Agreement is fair, adequate, and reasonable,

26 and that she agrees not to challenge the subject settlement pursuant to 31 U.S.C. § 3730(c)(2)(B) and

27 Cal. Gov’t Code § 12652(e)(2)(B).

28
     STIPULATION OF DISMISSAL
                                                                                                     1
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 1          A stipulated dismissal under Fed. R. Civ. P. 41(a)(1) is appropriate because no defendant has

 2 appeared in this action; therefore, all parties who have appeared now stipulate to dismissal. The

 3 other named governmental plaintiffs, by and through their assigned counsel, have informed and

 4 authorized the attorneys for the State of California to inform the Court of their respective consent to

 5 dismissal of the complaint filed in this action without prejudice as to them.

 6          A proposed order accompanies this notice. The undersigned parties, therefore, respectfully

 7 request that the Court enter the proposed order filed herewith.

 8                                        THE UNITED STATES OF AMERICA
 9                                        MCGREGOR W. SCOTT
                                          United States Attorney
10                                        Eastern District of California
11

12 DATED:                          BY:    /s/ Catherine J. Swann
                                          Catherine J. Swann
13                                        Assistant United States Attorney

14                                        STATE OF CALIFORNIA
15                                        XAVIER BECERRA
                                          Attorney General of the State of California
16

17 DATED:                           BY: /s/ Jennifer S. Gregory (as authorized on April 10, 2019)
                                        Jennifer S. Gregory
18                                      Bernice L. Louie Yew
                                        Deputy Attorney General
19                                      Bureau of Medi-Cal Fraud and Elder-Abuse
20
                                       RELATOR TRACEY FREMD
21

22                                        EMPLOYMENT LAW GROUP
23
     DATED:                        BY:    /s/ Janel Quinn (as authorized on March 12, 2019)
24                                        Janel Quinn
                                          Counsel for Relator Tracey Fremd
25

26

27

28
     STIPULATION OF DISMISSAL
                                                                                                       2
           Case 2:16-cv-02600-KJM-EFB Document 29 Filed 04/11/19 Page 3 of 3



 1                       CERTIFICATE OF SERVICE BY ELECTRONIC MAIL
 2          The undersigned hereby certifies that she is an employee in the Office of the United States
 3 Attorney for the Eastern District of California and is a person of such age and discretion to be

 4 competent to serve papers.

 5                   That on April 11, 2019, she served a copy of:
 6                                    STIPULATION OF DISMISSAL
 7 by sending via electronic mail to the following individual(s) at the noted email address(es).

 8
     Addressee(s):
 9

10 Janel Quinn
   Jquinn@employmentlawgroup.com
11 Employment Law Group (R) A Professional Corporation
   888 17th Street, NW, Suite 900
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13
   Jennifer Gregory
14 Jennifer Gregory Jennifer.Gregory@doj.ca.gov
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15
   2329 Gateway Oaks Drive, Suite 200
16 Sacramento, CA 95833-4252

17

18                                                                /s/Kimberly Siegfried
                                                                 KIMBERLY SIEGFRIED
19                                                               Legal Assistant
20

21

22

23

24

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                                                       1
